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IN THE UNITED STATES DISTRICT COURT
_ FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Consumer Financial Protection Bureau,
Plaintiff,
V.

Navient Corporation, et al.,

Defendants.

Case No. 3:17-CV-00101-RDM
(Hon. Robert D. Mariani)

FILED UNDER SEAL

 

 

PLAINTIFF’S BRIEF IN SUPPORT OF ITS MOTION TO
DEFER THE DEADLINE FOR ITS RESPONSE TO DEFENDANTS’
MOTION FOR PARTIAL SUMMARY JUDGMENT AND
TO PROHIBIT FURTHER MOTIONS FOR
SUMMARY JUDGMENT BEFORE THE CLOSE OF DISCOVERY

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; - | INTRODUCTION

After substantially delaying the production of documents and data, Navient
now tries to benefit from those delays by moving for partial summary judgment on
the “steering” claims in the Bureau’s complaint (counts I and II) before the Bureau
has had the opportunity to review, or even obtain, documents and calls it has
requested. Navient’s motion is procedurally improper, and the deadline for the |
Bureau’s response to the motion should be deferred, for three principal reasons.

First, the case is in active discovery, and just four months ago, Navient
produced 455,000 documents responsive to requests issued by the Bureau in May
2017. It is not feasible for the Bureau to have completed its review of those
documents by now, much less take all of the depositions it is entitled to take based
on the information it learns from that review. While the Bureau’s review is
ongoing, the Bureau has discovered substantial documentary evidence supporting
its steering claims, including evidence in Defendants’ most recent production. It is
not surprising that Navient seeks to dismiss those claims before the Bureau can

complete its review. Navient also filed its motion at a time when the parties are

' engaged in an extremely busy phase of discovery, with a full slate of issues to be

litigated before the recently-appointed special master, all of which need to be

resolved in approximately four months.
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Second, to this day, six months after the Bureau expressed concerns to the
Court that Navient had not produced documents and calls for borrowers who had
_already been deposed, and after the Court had set forth a procedure to ensure that
those records would be produced, Navient still has not produced all of the.
documents and calls requested by the Bureau. Now, as the Bureau presses Navient
on its failure to produce the missing documents and calls for borrowers whom
Navient deposed, Navient has made those borrowers the centerpiece of its
summary judgment motion before that dispute is even resolved. And Navient
ironically claims that “the entire course of dealing between Navient and the — -
borrowers must be considered” (Navient Brief, at 16), even while it has not
completed productions that would reveal those “entire course{s] of dealing.”

Third, Navient asks the Court to grant summary judgment by engaging ina
borrower-by-borrower loan file review. But paradoxically, Navient also argues that
“isolated phone calls are not evidence of a Company practice.” Navient Brief, at

~ 19. Thus, even Navient seems to understand that file-level review for 14 borrowers
(whose records have not even been fully produced) is not the correct way to
adjudicate this case. This is not an action in which 14 borrowers brought suit
against Navient; rather, the Bureau’s allegations are that Navient engaged ina

widespread practice of steering that was not limited to those 14 borrowers. And, as

described in more detail below, the Bureau already has uncovered substantial
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evidence demonstrating that Navient’s “Company practice” was indeed to steer
borrowers facing hardships that were not temporary or short-term into forbearance.

The Bureau should be allowed to complete development of the record concerning

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Navient’s “Company practice.”

By filing the motion, Navient seeks to deprive the Bureau of an opportunity
to complete discovery — which has, thus far, supported the Bureau’s claims.
Navient should not be allowed to short-circuit the discovery process and the
development of a full record for the factfinder. Thus, discovery should be allowed
to run its course, and the deadline for the Bureau’s response should be deferred
until 21 days after the deadline for motions for summary judgment, which is
currently set at November 7, 2019. Doc. 141, 7 4a. In addition, so that the parties
do not divert resources from the important tasks that are necessary to bring
discovery to a close so that this matter can be adjudicated on a complete record,
rather than on a piecemeal basis, the Bureau requests that the parties be prohibited
from filing further summary judgment motions before the close of discovery.

FACTS AND PROCEDURAL HISTORY
I. The Bureau’s Steering Claims
The first two counts of the Bureau’s complaint allege that Navient violated

the Consumer Financial Protection Act’s prohibitions against abusive acts and

practices, 12 U.S.C. §§ 5531(d)(2)(C), 5536(a)(1)(B), and unfair acts and practices,

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12 USC. §§ 5531(c), 5536(a)(1)(B), when Navient steered federal loan borrowers
experiencing financial hardship that was not short-term or temporary into
forbearance, before or instead of advising them about income-driven repayment

~. (IDR”) plans. IDR plans allow borrowers to pay an amount that is based on their
current income and household size, thereby accounting for the fact that borrowers?
incomes may fluctuate over time. The payments can be as low as zero dollars if a
borrower’s discretionary income is not sufficient to pay any portion of his or her
student loans, such as during a period of unemployment.

While forbearance can be appropriate for short-term or temporary hardships,
borrowers who enroll in forbearance face significant costs, which generally
increase the longer the borrower is in forbearance, making it a significantly worse
option than IDR for borrowers experiencing a long-term hardship. Some of these
costs include the accumulation of unpaid interest and the addition of that unpaid
interest to the principal balance of the loan (typically called interest capitalization).
In addition, in some cases, after a forbearance, a loan may be reamortized, which
can lead to an increase in the borrower’s monthly payment amount. Borrowers who
enroll in forbearance, rather than IDR, also do not make any progress toward

potential loan forgiveness, nor are they eligible for an interest subsidy available to

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borrowers with subsidized loans enrolled in IDR. The high use of forbearance is

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also associated with increased rates of borrower defaults. !
II. Steering Did, In Fact, Occur

While the parties are engaged in ongoing discovery and the record continues
to be developed as the Bureau reviews Defendants’ productions and takes
additional depositions, the documentary evidence uncovered thus far, as well as
deposition testimony, corroborate the Bureau’s allegations. For example, a June
2010 memorandum demonstrated that the culture of promoting forbearance at
Navient was So pervasive that the company had a “battle cry” about it: “Our battle
cry remains ‘forbear them, forbear them, make them relinquish the ball.” A2
(emphasis in original).?, The memorandum noted that, for borrowers whose

accounts Navient brought out of delinquency, 70% were being placed in

forbearance. Jd. 3

 

' Navient writes that forbearance and IDR are “complementary” because
borrowers “often need forbearance to allow time to complete IDR paperwork.”
Navient Brief, at 3. This is a red herring; as Navient well knows, this case is not
about the use of administrative forbearances, which are typically three months or
less and are designed to give borrowers time to apply for IDR.

>“A _” refers to a page of the appendix filed with this brief.

> The memorandum also stated that “we are very liberal with the use of
forbearance once it is determined that a borrower cannot pay cash or utilize other
entitlement programs.” A2. Under ED regulations, “entitlement programs” refers
to deferment and grace periods, not to IDR. See 34 C.F.R. § 682.210 (describing

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The high rate of enrollment in forbearance for borrowers in distress was not
surprising in light of the fact that Navient provided its call center representatives —
with a job aid that directed representatives to steer borrowers facing financial
difficulty toward forbearance. The first page of the job aid contains a decision tree
that guides the representative to ask “Can the borrower pay some portion?” AS.

IDR plans are shown as options available to borrowers who can afford a payment,
while forbearance and deferments are the only options shown to be available to
borrowers who cannot make any payment. Jd. Following the lead of the decision
tree, the second page of the job aid is a matrix that sorts repayment options
according to whether a borrower “Can Make Monthly Payments” or “CAN NOT
Make Monthly Payments.” A6. Again, IDR plans are listed only under the category
“Can Make Monthly Payments,” while forbearance and deferment are the only
options listed for borrowers who “CAN NOT Make Monthly Payments.” Id.

While Navient repeatedly. touts in its brief that it informed students that
“You could even qualify for a payment of $0!”, Navient employees confirmed that,

dating back to at least 2011, Navient did not offer IDR to borrowers who could not

afford to make payments. F or example, the head of all four of Navient’s call

 

“entitle[ment]” to deferments); 34 CFR. § 685.207 (describing “entitle[ment]” to
grace periods). "
 

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centers stated that he had not been aware, during most or all of his tenure from
2011 to 2012, that IDR was even an option for borrowers who could not afford to
make payments. A9. And a Navient call center supervisor confirmed that, through
at least 2012. and perhaps for years after that, the job aid that guided calls with |
delinquent borrowers did not include IDR as an option. Al3.

Consistent with the fact that Navient did not adequately advise borrowers
about IDR, the Bureau is already in possession of dozens of calls in which steering
occurred, which were obtained.through Navient’s document productions (for
example, calls attached to internal emails). And the Bureau has not yet obtained in
this litigation a sample of calls for review, but is currently in the process of
negotiating the parameters of that call sample production.

Navient’s steering of borrowers into forbearance came to the attention of
third-party student loan counselors, who were puzzled by Navient’s refusal to offer
IDR plans to borrowers who were obvious candidates for it. For example:

° Employees of the i3 Group — a third-party counseling service — observed
in 2013: “We have been experiencing [Navient] reps who are refusing to
send out the IBR, hanging up after the forbearance is read, and then also
refusing to put a supervisor on the line when requested.’” A16. A Senior

Vice President from 13 brought the issue to Navient’s attention,
explaining how Navient representatives were “not wanting to offer IBR”

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or were making up restrictions about IBR eligibility to avoid offering
IBR. A183-84.4 .

e° Loan counselors at the University of Phoenix made similar observations
in 2013, following an incident in which Navient representatives “refused
to go over IBR” with a borrower with no income. A19. University of
Phoenix representatives received confirmation from two different
Navient representatives that it was Navient’s policy “that if a student says

they cannot make any payments that [Navient] go over only Deferment
and Forbearance options.” A18-19 (emphasis in original).

_ Navient’s internal emails also demonstrate that Navient employees
reviewing calls were providing samples of steering that they thought would be
brought to the attention of Navient’s CEO. For example, in February 2014, Navient
personnel flagged for CEO Jack Remondi’s attention a borrower call where the
borrower was placed in forbearance even though she “may have qualified for
IBR” A22. Through at least 2016, the issue of borrower steering had persisted,
with examples of problematic calls having been brought to Mr. Remondi’s
attention on at least four additional occasions. A27, 29, 32, 35.

In 2017, the Department of Education (“ED”) conducted a review of
Navient’s call center activities, and after listening to a sample of calls, ED

concluded that, in some of those calls, “Navient CSRs neglected to offer the

borrower an option other than forbearance.” A40. ED noted that “[t]he use of

 

“TBR stands for income-based repayment, which is one of the types of plans
‘ that falls under the broader umbrella phrase of IDR plans.
 

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forbearance in lieu of any other options can cause more undue hardship to a
borrower in the long term.” Jd.

According to former employees of Navient, the occurrence of steering was
also a consequence of Navient’s compensation policies. Navient’s compensation
policies for its customer service personnel incentivized them to deal with calls
quickly, which resulted in borrowers not being advised about IDR plans or being
directed toward forbearance. As one former employee recounted: “The company
fostered a culture within the call center that prioritized speed in resolving borrower
calls. The company imposed a requirement that employees maintain an average
call time Gf approximately seven minutes. It initially conveyed the requirement
during training. Managers reinforced the requirement through regular feedback
sessions.” A88-89. Employees were informed daily or weekly how their average
call time compared with their peers through tracking spreadsheets sent to
employees by email that showed the names of employees along with their average
call times. A former employee described these reports as follows: “The
spreadsheet ranked employees according to the colors green, yellow, and red. Top
performers were green. Marginal performers were yellow. And poor performers
were red.” A89. Thus, “[nJot only did I know what my average call time was, I

knew where I stood relative to other customer service representatives.” A90.

Navient employees understood that the way to achieve short call times was to offer

 
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forbearance. If a borrower called to discuss repayment options, and the
representative placed the borrower into forbearance, that could be accomplished in
under 3.5 minutes. A102. In contrast, discussing IDR would be a much longer
‘conversation. A93-94. ,

Even though call representatives had their calls audited ona monthly basis
by their supervisors, this auditing was not thorough, nor was it designed to prevent
incidents of steering. A supervisor was required to listen to only five calls per
month for each agent, and those five calls could cover any subject, including topics
unrelated to choosing a repayment plan. A100-01. Even if, in these limited audits,
a representative was deemed not to have properly discussed IDR as a repayment
option, the representative’s conduct would not be written up in any way ‘or lead to
any sort of warning. A108-09.

Finally, Navient has always understood that sending boilerplate written
information about IDR does not give it carte blanche to.give borrowers inadequate
advice over the phone. To the contrary, despite what Navient is now arguing in this
litigation, Navient has always known that struggling borrowers faced with the
complexity of repayment options rely on phone advice, and Navient has
encouraged borrowers to trust that they can receive accurate advice by phone.

Indeed, in 2016, Navient urged to the FCC that regulations concerning phone

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contact should be changed to remove “impediments . . . to reaching and helping

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struggling and at-risk borrowers” because of “the importance of [phone] contact.”
_ A116. Navient summarized its position as follows: “one thing has become crystal
clear from our years of experience: live contact with borrowers is key to helping
them navigate the multitude of options and the complexity of the repayment
system.” A117.

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III. Navient’s Incomplete Production of Borrower Records

Against this backdrop of evidence that Navient had a systemic practice of
steering, Navient has pursued a consistent strategy in this litigation of trying to
hinder key aspects of discovery. For example, with respect to the production of
emails, Navient initially took the remarkable position that it would produce .
virtually no internal emails about the Bureau’s steering claim and various other
practices alleged in the complaint. The Bureau was required to seek the
involvement of the Court to compel production of those emails. See Doc. 74. And
indeed, the productions have and are continuing to yield evidence supporting the
Bureau’s claims, as described above. Similarly, Defendants resisted production of
contact information of former employees, again requiring the Bureau to seek the

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involvement of the Court. See Doc. 99. And by contacting those former employees,
. the Bureau continues to learn information corroborating its claims.

Another front in Navient’s ongoing battle to hinder discovery has been to

resist production of records and calls for borrowers whom Navient is deposing. Put

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differently, Navient has taken the position that borrowers are not entitled to see all

of the loan records and calls that Navient has in its possession about them. See,
| e.g., A125-27, 129, 133, 136-37, 140, 144. The Bureau raised this issue with the
Court at the August 8, 2018 hearing, specifically noting that the Bureau had
become aware that relevant documents — such as letters confirming enrollment in
verbal forbearances — were being withheld for borrowers being deposed. See Aug.
8, 2018 Hearing Transcript, at 39:13-40:25. The Bureau also noted that calls in
which borrowers agreed to enroll in forbearances were not being produced. Id.; see
also Doc. 99. |
At that hearing, the Court asked Navient’s counsel about its questionable
claim that producing all documents and calls for approximately 25 borrowers being
deposed would be too burdensome: “Aren’t the files of individual borrowers
maintained by Navient in some coherent fashion, such that if you want to access
the file of [a] borrower it can be done without a great deal of work and effort? I
mean, are you telling me that’s not the case?” Aug. 8, 2018 Hearing Transcript, at
51:10-14.

Navient responded as follows with respect to borrower correspondence: “T _
don’t know if you remember the old dos Isic, DOS] screens with like black black
screens with the green flashing — green flashing language... . So it’s like that.

And in order — so what we look at is we look at that screen, and there’s a screen

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that shows the whole history of the loan.... [You have to look at that screen,
click — click the entry, that gets sent to another part of the business, downloaded,
and then we can produce it.” Id. at 51:23-52:1 1.

With respect to call recordings, Navient stated as follows: “And I can tell
you that the company cannot pull them by account numbers. . . . Instead, we have

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to look-at the call notes, look at the time and date, go to the system where that call

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would have-been located, match the time and date with the agent name who took

the call and see if we can find the borrower’s call.” Id. at 52:18-24.

Based on these explanations, the Court set out the procedure by which the

‘Bureau could request documents withheld: the Bureau would “look at the loan

history” to be provided by Defendants, “identify the calls [and correspondence]
that relate to the specific activities at issue,” and Navient would then have to “go
and try to locate those calls and correspondence.” /d. at 52:9-11; 55:19-24.
Information that the Bureau has learned since that hearing raises serious
doubts about the accuracy of the descriptions Navient provided about the process,
of locating borrower. correspondence and calls and the associated burden. During
an onsite visit to a Navient servicing center for purposes of finalizing the Bureau’s
data requests, the Bureau learned that borrower calls and correspondence are
indeed maintained in a “coherent fashion.” All correspondence can be queried by a

borrower’s social security number, and that correspondence is located in a white-

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screen database (with no flashing text) that does not resemble DOS at all. See
A147 (screenshot of database showing borrower documents queried by social
security number). In addition, al of that correspondence can be opened and
downloaded without having to make contact with another business area. And in
separate databases (which, again, have white screens with no flashing text, and do
not look like DOS), a borrower’s calls typically can be retrieved simply by -
querying that borrower’s phone number. See A149, 151, 153 (screenshots of
databases showing borrower calls queried by phone number). Indeed, a current
Navient call supervisor described the process of locating calls as straightforward: .
“T usually don’t struggle to find calls. Like it’s pretty easy to find the calls most of
the time. ...I honestly have never had a time that I’ve run into where I couldn't
find a call.” A103, 105. In sum, the documents for specific borrowers are
segregated in “coherent fashion,” and claims of excessive burden to download all

of those documents do not withstand scrutiny.°

 

_ > It-would seem to take more effort for Navient’s counsel to engage ina
process of listening to-all calls for a borrower, and reading all correspondence with
the borrower, to determine what to produce ‘and what to withhold, rather than to
simply produce all of a borrower’s documents and calls. And, on some occasions,
Navient has delayed borrower depositions due to the inability to timely make their
selective production of records for the borrower to be deposed. Thus, it appears
that the culling exercise that Navient’s counsel performs, not the process of

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After the August 8, 2018 hearing, pursuant to the Court’s instructions,
Navient produced a loan history log for each borrower, printed from a screen in
their servicing system, so that the Bureau could determine what potentially
relevant items on those logs were withheld and should have been produced.® The
Bureau-compared Navient’s productions for borrowers with their loan history logs,
and discovered a significant volume of potentially relevant calls and
correspondence that had not been produced. (A 26-page list of documents and calls
that the Bureau believed had not been produced is attached at A156-81). The
Bureau requested that Navient produce all of those documents and calls on
December 7, 2018. A155. To date, Navient has not yet produced all of the calls and
correspondence on that list, despite the procedure that the Court set forth at the

August 2018 hearing requiring them to do exactly that.’ The Bureau also expressed

 

gathering all documents and calls associated with the borrower, is what is labor
intensive.

° These logs should have been produced in advance of the borrower
depositions, as they are unquestionably relevant. Navient’s counsel admits that
they consulted these logs to determine what to produce, and thus they made the
conscious decision that the logs themselves would be among the items to
improperly withhold before the depositions occurred. The logs include relevant
information about the specific dates borrowers contacted Navient, and in certain .
instances, the apparent outcome of those calls.

7 The Bureau received a small production of documents and calls on
February 5, 2019 in response to the 26-page list from the Bureau. The Bureau is in
the process of reviewing that production, but it is evident to the Bureau that some

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concems that some loan history logs had been improperly withheld (A155), and
Navient did not respond to that concern.

While the Bureau is continuing to pursue this issue with Defendants and
intends to seek relief if relevant records continue to be withheld, Navient ironically
has made the experiences of borrowers whose records they have not fully produced
the centerpiece of their motion. |

STATEMENT OF QUESTION INVOLVED

Should the deadline for Bureau’s response to Navient’s motion for partial
summary judgment be deferred until 21 days after the deadline for filing summary
judgment motions, and should the parties be prohibited from filing further
summary judgment motions before the close of discovery?

Suggested answer: Yes, because: (a) the parties are in the middle of active
discovery; (b) Navient has acknowledged that this case should be about “Company
practice” (Navient Brief, at 19), and while the Bureau is still reviewing Navient’s
document production, the Bureau has already uncovered substantial evidence

showing a “Company practice” of inadequately advising borrowers about IDR; and

 

items from the 26-page list have not been produced. It appears that some of the
calls on the 26-page list were not retained, but the Bureau has not received a
response to its inquiry regarding which.calls were not retained and when the non-
retention occurred. See A155.

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(c) the motion is based on the experiences of specific borrowers for whom Navient
has not fully produced potentially relevant documents and calls.
ARGUMENT

Navient’s motion is premature because discovery is not complete.
Accordingly, the Bureau’s response to the motion should be deferred until 21 days
after the deadline for summary judgment motions, which is after the close of all
discovery. In addition, for the efficiency of this case — including so that the parties
can focus their efforts on bringing fact discovery to a close in four months — further
summary judgment motions before the close of discovery should be prohibited.

Navient’s motion is an attempt to short-circuit the Bureau's ability to create
an adequate record through the discovery process. Yet “it is well established that a
court ‘is obliged to give a party opposing summary judgment an adequate
opportunity to obtain discovery’ tees because, by its very nature, the summary
judgment process presupposes the existence of an adequate record.” Doe v.
Abington Friends Sch., 480 F.3d 252, 257 (3d Cir. 2007); see also Shelton v.
Bledsoe, 775 F.3d 554, 565 (3d Cir. 2015) (noting that “[i]f discovery is
‘incomplete, a district court is rarely justified in granting summary judgment”).

Navient is undoubtedly aware that it is not feasible for the Bureau to have
completed review of Navient’s document productions. Navient recently insisted

upon seven weeks to review the Bureau’s forthcoming production of the non-

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privileged documents from a universe of 55,000 documents mentioning the words
“Navient” or “Pioneer.” See Doc. 155, at 1. Thus, it is not realistic for Navient to
expect the Bureau to review a volume of documents that is over eight times as
large in the four months that have elapsed since Navient produced those |
documents, let alone for the Bureau to supplement its Rule 26(a)(1) disclosures and
notice and take additional depositions based on information from those documents.
In addition, in mid-January 2019, Navient produced certain borrower data that the
Bureau requested in February 2018; the 11-month production period included
approximately 9 months in which Navient sought to block the production entirely.
This delay prevented the Bureau from being able to analyze this data and select a
call sample for production based on the data by this point in the discovery process.
Navient also delayed production, until September 2018, of contact information for
former call center employees, which limited the Bureau’s ability to interview these
individuals, supplement the Bureau’s Rule 26(a)(1) disclosures with additional
. potential witnesses, and notice and take depositions; if necessary. Had Navient
produced this information when its interrogatory responses were due in late March
2018, the Bureau could have begun its outreach over five months earlier.

In addition, though the review of Navient’s productions is ongoing, the

Bureau has already obtained significant evidence showing that Navient’s

“Company practice” was that it did not adequately advise borrowers about IDR. As

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described above, this evidence includes internal emails, job aids, calls,
observations from third-party student loan counselors, a review by ED, and
Navient’s own acknowledgement about the importance of calls with borrowers in

helping them understand repayment options. The Bureau should be allowed to

‘fully develop this evidence, including by completing its review of Navient’s

productions and by obtaining a sample of calls.

Finally, as described above, Navient’s motion is premised on the

" experiences of borrowers whom Navient has subpoenaed and deposed, yet Navient

has not produced all of the correspondence and call recordings that would allow for
these borrowers’ experiences to be fully understood. For example, even though
many of those borrowers ultimately enrolled in IDR, that is not surprising: it is
possible that Navient changed some of its practices in response to the Bureau’s
investigation, this lawsuit, and the lawsuits filed by the Attorneys General of five
states, and thus many borrowers who had extended periods of forbearance were
eventually informed about IDR during phone conversations with Navient and
enrolled in IDR. However, for the periods preceding IDR enrollment, -Navient has
not produced relevant documents conceming those borrowers (such as letters

confirming enrollment in verbal forbearances), as well as numerous calls in which

forbearance enrollment occurred. Their experiences cannot be accurately and

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completely presented until all of their relevant documents and calls are produced
and analyzed,

In light of these factors, as well as a host of discovery issues to be litigated
before the special master, an adequate record in this case has yet to be developed,
and summary judgment is inappropriate. See, e.g., Smithson y. Rizzo, 2015 WL
1636143, at *5 (M.D. Pa. Apr. 7, 2015) (denying motion for summary judgment.
as premature); Humbert v. Kurtz, 2008 WL 719244, at *8 (M.D. Pa. Mar. 14,
2008) (same); La Fata v. Raytheon Co., 223 F.Supp.2d 668, 680 (E.D. Pa. 2002)
(same). | | ° |

The information asymmetry found in enforcement actions such as this
disproportionately favors Navient. Its conduct is at the heart of the case, and it is in
possession of the vast majority of relevant information. The above-described
events have exacerbated this asymmetry, putting the Bureau at an unfair
disadvantage. This case involves important issues affecting potentially hundreds of
thousands of consumers. The factfinder should have a full evidentiary record to
resolve these issues. See, e. g. Doe, 480 F.3d at 257 (noting that deferring
consideration of summary Judgment is particularly appropriate “when there are’

discovery requests outstanding or relevant.facts are under the control of the

moving party”). The Bureau would be severely prejudiced by a premature

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adjudication of a summary judgment motion, especially in light of Navient’s
delayed and incomplete productions to date.

An addition, in light of the discovery issues that need to be resolved} it would
be inefficient for the parties to litigate, and for the Court to adjudicate, a summary
judgment motion now. The parties should be working toward resolution of a litany
of discovery disputes to complete development of the factual record in this case,
not diverting resources to briefing premature motions. Particularly in light of
potentially serious issues concerning Navient’s deficient production of records
relating to borrowers who have already been deposed and who are at the center of
Navient’s motion, the record in this case is “so significantly clouded . . . that
resolution of [a] motion for partial summary judgment . . . at this time would
‘constitute an inefficient use of judicial resources and frustrate the purpose of
summary adjudication.” Advanced Fluid Sys., Inc. v. Huber, 2015 WL 1729375, at

*1 (M.D. Pa. Apr. 15, 2015); see also Dean v. Douglas, 2012 WL 6151137, at *6
(M.D. Ga. Dec. 11, 2012) (denying motion for partial summary judgment on the |
basis of efficiency); Jn re G-l Holdings Inc., 2007 WL 1412294, at *4 (D.N.J. May
14, 2007) (same).
| CONCLUSION
For the foregoing reasons, the Bureau respectfully requests that the Court

enter the attached proposed order deferring the deadline for the Bureau’s response

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to Navient’s motion for partial summary judgment until 21 days after the deadline
for motions for summary judgment and prohibiting the parties from filing any

further summary judgment motions until both fact and expert discovery have

concluded.

‘Dated: February 6, 2019 ~ Respectfully submitted,
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Enforcement Director

David Rubenstein
Deputy Enforcement Director

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Case 3:17-cv-00101-RDM Document 274-3 Filed 03/26/19 Page 28 of 75

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CERTIFICATE OF WORD COUNT
Pursuant to Local Rule 7.8(b)(2), I hereby certify that the foregoing brief in

opposition contains 4614 words.

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CERTIFICATE OF SERVICE

I certify that, on February 6, 2019, I served the foregoing document and the

accompanying materials by email to the following counsel for Defendants:

Natalie Bilbrough: natalie.bilbrough@wilmerhale.com
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é

Mr. Kearney previously consented to service by email on Defendants’

counsel.

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APPENDIX TO PLAINTIFF’S BRIEF IN SUPPORT OF ITS MOTION TO |
DEFER THE DEADLINE FOR ITS RESPONSE TO DEFENDANTS’
MOTION FOR PARTIAL SUMMARY JUDGMENT AND

TO PROHIBIT FURTHER MOTIONS FOR

SUMMARY JUDGMENT BEFORE THE CLOSE OF DISCOVERY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Email chain among borrower, Bureau’ s counsel,
Defendants’ counsel

 

 

‘Exhibit Description of exhibit Beginning
page
: number
(i) (Navient internal memorandum) (Al)
(2) |{Navient job aid) (a4)
(3) (Excerpts from deposition of Matthew Bailer) (A7)
(4) ‘Excerpts from deposition of Suzanne Croft) (A10)
5 Internal emails from i3 Group Al4
6 Emails between Navient and University of Phoenix Al7
7) (Internal emails from Navient) (A21)
(8) internal emails from Navient (A26)
9 Department of Education Site Visit Review A38
10 _ | Declaration of Lynn Sabulski A85
(1) (Excerpts from deposition of Johnathan Powell) (98)
12 Excerpts of Navient comments on FCC proposed Alll |
regulations
13 Excerpts from borrower deposition Al21
14 A128

 

 
 

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Email chain between Bureau’s counsel and Defendants’ ’ A132

counsel
16 Email chain between borrower and Defendants’ counsel A135
17 Email chain between borrower and Defendants? counsel A139
18 Email chain between borrower and Defendants’ counsel A143
19 Screenshot from Navient correspondence database A146
20 Screenshot from Navient call database A148
21 Screenshot from Navient call database A150
22 Screenshot from Navient call database A152
23 Email between Bureau’s counsel and Defendants’ counsel A154
24 | Email chain between i3 Group and Navient A182

 

 

 

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Jack;
CRS is meeting with you in June for a business review and we are planning on discussing the topics you brought up on
the attached document. As a preview to our June meeting, the “not so short” answers to your questions are betow.

Question #2) ED COLLECTION STRATEGY?

The. Vision far CRS and thé ED servicing business has not changed from what we presented to you in December. We
want to put durselves (CRS) outof businesses by driving borrowers to self-serve and use automation via email, text,
‘web, letters, dialer, iVR etc. We recognize that this isa thin margin business, therefore, our goal is to drive down unit.
cost while maximizing fee reveniie and winning the default scorecard. As-of today, CRS, IT, and Channel strategies,

", have been unsuccessful in getting low-cost, self-service channels operationalized. Email is 5 up and running but
the other chaninels are still in development.

We: view Borrower Education as another key component. of our mission. There aré numerous programs in addition to
FORB that allow students to resolve their delinquency. We need to point them to the optimal solution based on their
unique circumstances (optimal solution for the student and the firm)..

‘Desk Loads and Bucket Segmentation Stratégies - «CRS pools the entire 60+ delinquent EO borrower base and calls it on
the dialer about 2.5 times daily with about 110 agents. Account loads are in the rieighborhood of 1,800. We have
targeted strategies to maximize servicing fee revénue in the early stages. In the 1-30 and 31-60 day buckets we tse
models to determine who is likely to self-cure,'we.then dial and email everyane who is not likely to cure in order'to
“throw them over the fence” to the: higher fee tier (example = *$1.44 average delinquent borrower fee flipped to the
~$2.11.up to date borrower fee). Tear Tomko built the models and will be validating the effectiveness.

The only other “bucket segmentation” strategy that we have in CRS involves a team of 20 collectors who are working.in
a pre-charge-off capacity, 270+.. This is not a fee revenue strategy but an effort to prevent defaults on borrowers who
landed in severely delinquent buckets as part of the PUT process and ECASLA. We implemented the pre-charge-off
strategy in the short term to get out of the gate strong on the scorecard; whether it makes sense long-term is TBD.

Forbearance - Our battle cry remains “forbear them, forébear them, make them relinquish the ball." Said another way,
we are very liberal with the use of forbearance once it is determined that a borrower cannot pay cash or utilize other
entitlement programs. Generally speaking, out-of every 10 resolved ED borrowers, 7 will forbear, 1'will pay cash, and 2
will use a deferment or some other entitlement. That mix is likely to change over time as we improve our. ability to
communicate the benefits of arid fulfil other programs such as “Income Based Repayment.”

Dollars Callééted - in CRS alone, we are collecting about $150mm per month and resolving about 40,000 borrowers -
these are not meaningful metrics by themselves. A more.useful perspective would be the default rate trend. Our ED
default rate is trending towards 12% - 15% versus FFELP historical default rates of roughly , 10% (See Chart 1 below-fora
comparison of ED and FFELP collection rates). This performance gap should be expected § given the adversely selected
portfolio i in ED. Proprietary school borrowers make up over 60% of the 1+ delinquent ED portfolid versus about 40% of
the 1+ delinquent FFELP portfolio (Prop school delinquency runs nearly double non-prop). Oriving the performance
variance to a lesser degree are the staffing / dialer issues that we faced in Q1:due to the fact that the delinquent
borrower count was more than five times the budgeted / planned volumes. Although EO is lagging in default
prevention performance when compared to FFELP, we should not assume that we are lagging behind our three
competitors in the ED Servicing contract. To state the obvious, we won't really know where we stand relative to the
competition until the scorecard results are published ona quarterly basis.

Confidential Pursuant to. Protective Order NAV-02040938 »

 
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Questions #3 and #4) COMBINING SERVICING, COLLECTIONS, AND SALES INTO A SINGLE P&L UNIT

Yes. We don’t believe the current structure is optimal and we would support evaluating a re-org. Although combining *_
Servicing and Collections makes sense, we need to include the P&L Manager and the Dept. of Ed relationship folks all
under one organization. This appears to be what you are proposing.

Chart 1: CRS Collection Rates in ED and FFELP.

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Cummulative Collection Rates - Comparing ED and FFELP Rh FRoPsieats “4
Delinquency Cycle 60-90 91-120 121-150 151-180 181-210 211-240 241-270 271-300 301-230 331-360 361-390 pecan
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ED Public 13.88% 41.26% 57.79% 67.63% 74.42% 78.55% 80.43%] 82% 83% 83% 83% Tetetin
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ED Private 19.92% 57.05% 69.53% 75.14% 80.12% 83.42% 85.00%] 87% 88% 88% 88% | CSSD) |
ED TOTAL 14.31% 44.40% 56.75% 63.81% 70.13% 74.69% 77.23%] 82% 83% 84% 85% | | | Tentaxncms |
ACTUAL Armenia |
FFELP Historical 36.51% 64. 47% 72.69% 77.95% 81.30% 85.48%. 87.95% 90.22% 90.81% 90.82% 90. 86% OTGUP,
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Exhibit 2

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Exhibit 3
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Page 1
UNITED STATES DISTRICT COURT

FOR THE MIDDLE DISTRICT OF DELAWARE

CONSUMER FINANCIAL

 

PROTECTION BUREAU

Civil Action No.

3:17-CV-00101-RDM

vs. .
NAVIENT CORPORATION, et al.
\ }
Philadelphia, Pennsylvania

Friday, November 16, 2018

taken

 

_ ORAL DEROSETTON of JOHN MATTHEW BAILER,
pursuant to novice, held in the offices of U.S.
Attorney's Office, One Independence Mall, Suite 1250,
Philadelphia, Pennsylvania 19106 commencing at 7738
\

a.m., before Angela M. King, RPR, Court Reporter -

Notary Public there being present.

 

 

 

 
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Page 148

A. I don't remember.

Q. Was there any email traffic regarding the
availability of a zero dollar payment IBR?
| MS. DRYHURST: Objection to form.
THE WITNESS: I think during my tenure,

‘there was more email traffic around that

concept . My recollection when we first started

at servicing, it wasn't clear to me, anyway,

that that was an option.
BY MR. LEE:
Q. And you mentioned toward the end of your tenure.
Are we talking the first couple of months of 2012?
A. Yeah, thereabouts.
Q. Okay.
A. End of 'll, early ‘12. Could have that wrong, but
it generally, you know, eight years ago, six years ago.
I thought it was towards the end of my tenure, we were
getting more guidance from the department on that
topic.
Q. So this document Exhibit 12 was being developed
prior to when you became aware that zero dollar payment
IBR was an option?

‘MS. DRYHURST: Objection: Misstates
testimony.

THE WITNESS: My recollection is at the

 

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TRANSCRIPT OF PROCEEDINGS

 

CONSUMER FINANCIAL
PROTECTION BUREAU,

Plaintiff, Case No. 3:CV-17-00101

NAVIENT CORPORATION, ET AL.,

le ee ee ee ee ee 8 ee ee

Defendants.

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DEPOSITION OF: Suzanne Croft

Pages: 1 through 175
Place: Indianapolis, Indiana

Date: November 27, 2018

 

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I believe so.
What is the repayment hierarchy?
What is it specifically?

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Sure. I mean, describe it specifically or

“generally.

So, generally, it's asking a customer probing
questions to get them into the best option
possible. :

So that can vary, but essentially we would
want the customers to be in some sort of a
repayment option. And, then, if that doesn't work, »
you would move down to any sort of deferments that
could be available and then forbearances. That's

xn

general. : .
Okay. Going to that first tier that you discussed,
the options that you would present before
deferments or forbearances, you called them
repayment options.

What are those repayment options?
At that point?

Correct.

I don't remember all of the repayment options that

‘were available at that point in time, but I do

remember graduated repayment options, maybe

extended. repayment options.

Heritage RERY ting Corporation
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Okay: Any others?»

At that point, not that I remember.

Did it change over time?

Yes.

And how did it change?

The income-driven repayment options started to
integrate into our everyday repayment options

offering.

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Q . And when did the IDR plan start to integrate?

I don't remember the exact time.
Okay. But at least as of 2012, they weren't
integrated into.the repayment hierarchy?

MS. BILBROUGH: Object to the form.
You can answer.

MS. BILBROUGH: You can answer if you know.
When I -- I don't remember the exact date.
Okay. So just going back to 2012, you indicated
that the repayment options were graduated and
extended, and IDR was integrated at a later point
in time; is that right?
Correct.
Okay. What was taught during the training about --
was the concept of an IDT discussed during the
training?

Yes.

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—A25

Confidential Pursuant to Protective Order

NAV-02336043
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Exhibit 8

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Thanks!
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Confidential Pursuant to Protective Order

 
 

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Page 1
UNITED STATES DISTRICT COURT

FOR THE MIDDLE DISTRICT OF DELAWARE

Qo

CONSUMER FINANCIAL PROTECTION
BUREAU,

VS. ~~: CASE NO. .
. 3:17-CV-00101 RDM

NAVIENT CORPORATION, ET AL.

** DEPOSITION**

DEPONENT: Johnathan Powell
DATE: Tuesday,,. July 24, 2018
TIME: 9:33 a.m. .

PLACE: — 235 North Washington Avenue

Scranton, PA
REPORTER: Steven R. Mack

SOLICITOR: Nicholas Jabbour
oe David Dudley

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. Page 24
\ You know, we have all different kinds
of call listening, so it's hard to enumerate.

Q. What is the minimum requirement for the
number of calls that you have to listen to for each
agent each month?

A. ‘It's around that five to ten. I don't
know the exact number there.

Q. Is there a policy document that indicates

an exact number?

A. No, there's not a specific document or
anything.
Q. Is there a policy document that sets forth

the procedures for listening to calls?
( A. Not that I'm aware of. I mean I --
honestly, I've been there so long that they -- they
go over that stuff with new supervisors, so there --
I should say I don't have awareness of that because
I've been doing.it for so long, you know? So

Q. How do you choose the minimum five to ten
calls you .listen to per month for an individual
agent? °

A. \ Certainly. — So -- SO we as supervisors
have to listen to, you know, a call that's longer

than 15 minutes for each agent. The team leaders

have to listen to calls that are longer than 10

 

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minutes.
And then we essentially when we coach
our agents we listen to, you know, shorter calls and

medium calls. I listen to calls with my agents.
\

' almost every time I meet with them, so I probably

listen to, you know, two a coaching at least.
Q. So for the five to ten minimum per month, |

one has to be longer than 15 minutes. Are ,there any

_ other criteria?

A. Not specifically. Alli- right. So there --
there's different reports, liké the low talk time
report. So if somebody comes up on that for, you
know, going under a certain amount of time in
resolving an account, we're going to listen to that

call.

There's -- there's first call

“resolution calls. So we kind of ---you know, if --

if the borrower: does not get the help that they need
to get into the right repayment option, so if
somebody doesn't explain.

You know, if they're going through an
income-driven repayment plan and the borrower still
‘needs assistance, we're going to help coach that
agent on how they could better provide like a hey,

here's how you fill out this application, let. me

 

 

 

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need to listen to, and that we listen to them to
verify everything was done correctly.

QO. , Does that report contain every instance in
which a call was under 3 minutes and 30 seconds and
resulted in forbearance or is it something else?

A.. Forbearance primarily. If they did a
payment under that amount,. if they probably did like
a graduated repayment option. Those are pretty much
the -- and also if they did like a -~ I don't know
how to describe it. Like a FORA FORN, which is like
what we use to -- a temporary forbearance we place
that's like -- the FORN is non-capitalizing. You
know, in case we send somebody paperwork to fill out
or something to give them the 60-day hold that's
non-capitalizing to, you know, apply for an
income-driven repayment plan or a deferment, those
calls as well that, are under like a certain -- that
certain like threshold of 3 minutes and 30 seconds.

And we do it as like a check to make
sure they're’ doing everything correctly and -- you
know, because sometimes people call in and they're
very specifically that they want things, but we like
to have those checks in place.

(Reporter requested clarification of

a term.) y

 

 

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Q. -- earlier calls on that screen that you
see, right?
A. Yes.
Q. ” Okay. Are there any:other tools that you

can think of to kind of expedite locating a call if
you know the date and the borrower name but not
necessarily the phone number?

A. By the date and borrower name, no. In the
past like if’I struggled to find a call, I maybe
reached out to my dialer team and said hey, can you
help me find this call with this phone number

attached to it like if I knew it was via a certain

“phone number and maybe they have helped me. But

yeah, not -- not really by borrower name, no, not

that I could think of. But there might be. I

don't -- I'm not really aware.
Q. Okay.
A. It's I usually don't struggle to find.

Like it's pretty easy to find the calls most of the

time, you know?
\

Q. Okay. Have you ever not been able to. find
a call?

A. No.

Q. And when you were using the NICE software

instead of ICBM, was it the same search criteria

 

 

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that you could use to locate calls?

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A. It's been some time, so I believe it ‘was

pretty similar. I haven't used them forever,

\

honestly, you know, so the thousands of calls I've

listened to, you kind of -- it's kind of a blur, but
I -- from what I remember, it was similar. ‘
Q. Okay. Were there any other systems you

used, you've used during your time at Navient to

/

listen to calls besides ICBM and NICE?

A. Not that I can remember, no. No.
Q. Okay. And just so I understand all the
criteria that you can search by in ICBM. I ‘know

\

we've been through phone number, we've been through

the date. There's the recording ID and the agent.

Are there any other criteria that you can search by?
A. Just the couple other ones I mentioned to

you. By like the person who scored a quality call,

the person who was scored.-. There is other criteria;

just nothing that I really use, you know?

Q. Right. And you said -- remind me. Did

‘you say you could search by disposition if it was a

CRS call?
A. Correct. You could select like, you know,
includes these words in the disposition or it

doesn't include this, that kind of thing. Like if,

 

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and, or statements somewhat.

Q. Okay. Was there ever a time in NICE when.

you couldn't locate a call you were looking for?

A. No, I honestly have never had a time that
I've run into where I couldn't find a call.
Q. Have you ever had a situation where

someone was placed into forbearance without any

contact whatsoever? So in other words, there was no

\
call with the borrower, there was no -- there.was no

forms submitted by the borrower. It was basically

‘fraudulently done without the borrower's permission

r

without any call whatsoever.

A. Yeah, I mean at some point there's been
agents who have done something of that nature. You
know, and then typically obviously when that happens

and it's discovered, we-investigate further and kind

of take the appropriate action that's needed. A

PDA, coaching depending on how: severe it was, you
know.

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Q. Okay. In those situations how would --
you know, if you saw that -- how would that
situation be detected since there is no call to --
to locate?

A. Since there is no call to locate?

Q. Right. How would you -- how would you

 

 

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we assessed them correctly. You know, I might bring
it up to my manager because it is pretty -- you

know, that agent might need a lot of.coaching to get
that call flow straightened out.

You know, I definitely would
obviously meet with that agent as well and kind of
come up with a.coaching plan to -- to help them kind
of navigate through those calls better because that
should have -- that call should have been a lot
better for her and the customer, you know?

Q. Okay. Would &@ call like that

automatically trigger any disciplinary action? Or

would that be like a verbal warning?

A. Yeah, I mean for -- depending on the
infraction and the level, yeah, we definitely would
take the appropriate steps based on that level of
risk for those specific infractions.

Q. Okay. If there was no compliance issue.
Let's say that the agent presented all of the

information, you know, about say forbearance

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accurately --
A. Sure.
Q. -- and the big issue was just that she did

not go through income-driven repayment with the

borrower. She didn't adequately ask questions to

 

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. Page 181
1 probe the borrower's situation and determine that
2 income-driven repayment might be appropriate for
3 that borrower's circumstance, but otherwise every
4 other aspect of the call was fine.
5 A. Sure. |
6 Q. Would that only warrant a quality write-up
7 and not a compliance write-up?
8 - AY So -- and there's not really a quality

9 write-up. The way that it would impact her quality,

10 that is if this is a score that went towards her
11 incentive and she fell under a certain percent, it
12 could reduce or even eliminate her bonus. So that

13 definitely could happen if it was that bad, you.
14 know, because I probably would take off a lot of
15 - points for this one.

16 | _ But it also would, you know, be

17 followed up by me listening to the call with the
18 agent, trying to ask them what they saw was wrong
19 with it and kind of going over each piece and, you

20 know, trying to put that coaching plan into

\ | 21 practice, so
22 Q. Would that be -- would this be a verbal
23 warning only?
24 A. I honestly am not a hundred percent sure
25 of what would be assessed, you know what I mean? So

 

 

 

 

 

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I don't know.
Q. ' Okay. So again if there was no compliance
issue on the call and it was -- it was just --
A. Calling.
Q. -- it was just about not advising the

borrower about income-driven repayment options, how

would you treat that from -- from a quality
standpoint?

A. As far as scoring or just how I'd handle
it?.

Q. ° In terms of what the consequences for the

employee would be.

A. Okay. Yeah, I mean there -- the direct
consequences would not be a write-up or something.
The direct ‘consequences would be coaching, review

it, figure out what we need to do to change her

practices moving forward.

The score would be a direct
consequence which could trickle into her incentive,
you know what I méan? I could see an agent like

this who has those calis could be somebody who, if

“you continued to speak toa borrower like that and

you don't really give them the proper explanation,
then sure, it could trigger escalation calls, which

maybe you have longer talk time now, maybe you're

 

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not getting as many resolves, which maybe hurts your
performance because you're not really helping: people
the way you should, you're not taking the right
steps, you know? Which tends to lead to that long
talk time.

So those are the impacts I think that.
you would see, but again there's no direct -- there

would be no direct, you know, warning for that if

there was no compliance issues, no -- no PDA
exactly.
Q. Okay. So there would -- there would be no

verbal warning and no written warning that would

emerge from a call like that? Again if there were

no compliance issues, it was just about not properly
advising about repayment options.
MS. DRYHURST: Objection, form.

A. Correct. To clarify it, the only time
that --. you know, so typically, you know, if this
was my agent and this was a one-off call and she had
this call)and it was all quality stuff and I coached
her on it and a week passes and she doesn't improve?
You know, when you have people who you continue to
coach and they continue to make these mistakes and
maybe it doesn't fall into compliance?

Maybe then, you know, a week -- like

 

 

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I said, we come up with an action plan or I could

talk to employee relations about potentially like

a -- I don't know exactly what they call it. Like a
pattern of -- of -- you know. But that would be in
a very intense situation where somebody -- you're

meeting with somebody and they're just not listening
to you and they're not correcting it. Typically
people correct their -- you know, they correct their

mistakes and they use the instruments that you give

-them to be successful.

Q. Okay. So if this is just about not
properly advising about repayment options, no
compliance issues, all the information given is
accurate, it would be a coaching situation and you
would monitor it to determine if the problem

persists?

A. Yeah. Correct.
° Q. Do you recognize that agent's voice at
all?

A. No. No idea.

Q. . She referenced 60 months of voluntary

forbearance. Is 60 months still the maximum of
voluntary forbearance that's allowed?
A. It really depends on what -- what we're

looking at here. If they're commercial-based loans,

 

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